Case 1:20-cv-07311-LAK Document 144-2 Filed 03/09/23 Page 1 of 3




            EXHIBIT 2
          Case 1:20-cv-07311-LAK Document 144-2 Filed 03/09/23 Page 2 of 3

                                                                             Page 1
·1· · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · SOUTHERN DISTRICT OF NEW YORK

·3

·4·   ·E. Jean Carroll,· · · · · · · ·)
· ·   · · · · · · · · · · · · · · · · )
·5·   · · · · · · Plaintiff,· · · · · )
· ·   · · · · · · · · · · · · · · · · ) Case No.
·6·   · · · vs.· · · · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · · ) 1:22-CV-10016-LAK
·7·   ·Donald J. Trump,· · · · · · · ·)
· ·   · · · · · · · · · · · · · · · · )
·8·   · · · · · · Defendant.· · · · · )
· ·   ·_______________________________)
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14· · · · VIDEO DEPOSITION OF ROBERT J. FISHER

15· · · · · · ·Via Zoom Videoconference

16· · · · · · · Monday, February 6, 2023

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21· · Reported by:

22· · LISA MOSKOWITZ, CA CSR 10816, RPR, CRR, CLR,

23· · Washington CSR 21001437, Nevada CCR 991,

24· · NCRA Realtime Systems Administrator

25· · JOB NO. 222071
        Case 1:20-cv-07311-LAK Document 144-2 Filed 03/09/23 Page 3 of 3

                                                                           Page 191
·1· ·your work as an expert or PR professional or
·2· ·a citizen that's aware?
·3· · · ·A.· ·A citizen.· I follow the news.
·4· ·I've always been -- you know, I was a
·5· ·journalist for eight or nine years.· But, I
·6· ·mean, I've always had a curiosity of what's
·7· ·going on in the world.· So I read news,
·8· ·politics, sports, business.· I don't look at
·9· ·the comics, but I look at about everything
10· ·else.
11· · · ·Q.· ·When you say you were a journalist
12· ·for eight or nine years, where was that?
13· · · ·A.· ·It started junior high.· I started
14· ·my junior high newspaper in my school.               I
15· ·was one of two people that formed the
16· ·newspaper in the school, and then I was a
17· ·journalist all through four years of
18· ·college, three years of high school, four
19· ·years of college, junior high.· Actually I
20· ·had two, three, five, nine years of being on
21· ·school newspapers.· It's journalism.
22· · · · · · I mean, I was writing articles,
23· ·interviewing people.· It wasn't paid
24· ·professional journalism, but it was still
25· ·journalism.· And of course I had that period
